Case 3:22-cv-00734-DPJ-HSO-LHS Document 298-2 Filed 07/08/25 Page1iof8

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UNITED STATES DISTRICT COURT

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Case 3:22-cv-00734-DPJ-HSO-LHS Document 298-2 Filed 07/08/25 Page 2of8

UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI

NORTHERN DIVISION
MISSISSIPPI STATE CONFERENCE OF THE
NATIONAL ASSOCIATION FOR THE Case No. 3:22-cy-734-DJP-HSL-LHS-
ADVANCEMENT OF COLORED PEOPLE; DR. FKB

ANDREA WESLEY; DR. JOSEPH WESLEY;
ROBERT EVANS; GARY FREDERICKS; PAMELA
HAMNER; BARBARA FINN; OTHO BARNES;
SHIRLINDA ROBERTSON; SANDRA SMITH;
DEBORAH HULITT; RODESTA TUMBLIN; DR.
KIA JONES; ANGELA GRAYSON; MARCELEAN
ARRINGTON; VICTORIA ROBERTSON,

Plaintiffs,

vs.

STATE BOARD OF ELECTION
COMMISSIONERS; TATE REEVES, in his official
capacity as Governor of Mississippi; LYNN FITCH, in
her official capacity as Attorney General of
Mississippi, MICHAEL WATSON, in his official
capacity as Secretary of State of Mississippi,

Defendanis,
AND

MISSISSIPPI REPUBLICAN EXECUTIVE
COMMITTEE,

Intervenor-Defendant.

SUPPLEMENTAL EXPERT REPORT OF THOMAS L. BRUNELL, Ph.D.

October 23, 2023

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Case 3:22-cv-00734-DPJ-HSO-LHS Document 298-2 Filed 07/08/25 Page 3of8

Supplemental Report of Thomas L. Brunell, Ph.D.

Professor Orey’s report attempts to address, among other things, the issue of
racial disparity in electoral turnout in Mississippi. I have several critiques about his
approach on this subject. I am being paid $500 per hour for my work in this matter.
My fees are not contingent on my opinions or on the outcome of the case. My CV is

attached to my initial expert report, dated October 16, 2023.
I. Prof. Orey Only Uses 2020 Election

The first problem is that Prof. Orey only examines turnout in the 2020 election.
He analyzes the 2020 election with different datasets and with different methods, but
ultimately, he is still just examining a single election to describe a complex phenomenon
that has changed over time. There are many factors that affect election turnout in
America including: which offices are up for election, methods of voting, whether an
incumbent is present, what other items are being voted on (like an initiative or
constitutional amendment perhaps), the weather, and campaign finance, among other
things. Establishing a racial disparity for voter turnout based on a single election is

troublesome.
li. CESdata

One of the datasets that Prof. Orey uses in his report is the Cooperative
Election Study (CES) for the 2020 election. On page 25 of his report, Prof. Orey

presents the data in tabular form (Table 16) replicated here:

Turnout N
Black 53.2% 158
White 64.7% 283

DX-002-002

Case 3:22-cv-00734-DPJ-HSO-LHS Document 298-2 Filed 07/08/25 Page 4of8

I downloaded the dataset cited in Prof. Orey’s report and found that there are 160
observations of Black respondents in Mississippi. There are two missing observations in
his dataset. More problematic however is the fact that Prof. Orey does not weight his
analysis with the supplied weights in the CES. Surveys are often weighted because of
issues with sampling. The easiest way to understand the reason we use weights is that
certain subpopulations may be under or over-sampled in the data. Thus, if we know
African Americans make up 38 percent of the population in Mississippi, but they only
make-up 25 percent of the sample in the CES, then we must give those observations a
higher weight. The CES has a complex weighting strategy that is detailed in the
codebook for each survey. In short, the CES uses data from the Census Bureau, based
on the American Community Survey (ACS), as a baseline for generating different strata.
These strata are based on gender, age, race, Hispanic origin, and education (pages 14-16

in the “Guide to the 2020 Cooperative Election Study”).

Prof. Orey simply took the total number of Blacks in the raw data and reported
the percent that turned out in the 2020 election (and the same thing for White voters).
This approach does not utilize the weights provided by the survey nor does it allow Prof.
Orey to generate confidence intervals. I performed this analysis using the appropriate
weights, thereby allowing me to report confidence intervals, which is appropriate since

we are extrapolating to the whole population of Mississippi from a survey.

Turnout 95% CL. N
White 59.57% 52.08, 66.64 283
Black 45.15% 33.86, 56.96 160
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DX-002-003

Case 3:22-cv-00734-DPJ-HSO-LHS Document 298-2 Filed 07/08/25 Page5of8

Statistical analyses allow us to quantify uncertainty. We are talking about the
entire population of the state of Mississippi here based on a survey of less than 500
people. From this sample we can estimate the population parameters, but we do so with
uncertainty. Confidence intervals are the indicators of this inherent uncertainty. We
can be reasonably sure, though not completely certain, that the true turnout percentages
for Blacks and Whites in Mississippi lie with the confidence intervals that I have
estimated. These intervals are centered around our point estimates, but we do not just
look at the point estimates and accept them as the truth. Rather we examine the 95
percent confidence intervals. The results indicate that, in the 2020 general election, the
point estimates for White turnout are higher than that for Blacks in Mississippi.
However, the 95 percent confidence intervals are sufficiently large that the intervals for
Whites and Blacks overlap. That is, the lower interval for Whites is less than the higher
interval for Blacks. This means that, from a statistical standpoint, we cannot be
confident that the rate of turnout among Blacks and Whites in Mississippi in 2020 was
different. The fact that the confidence intervals overlap is the key point here. I have

graphed the data from the table above here to be able to visualize this overlap:

DX-002-004

Case 3:22-cv-00734-DPJ-HSO-LHS Document 298-2 Filed 07/08/25 Page 6of8

Turnout

—— upper/lower Cl

Turnout

White Black
Race
The red vertical lines are the confidence intervals. The bottom interval for the White
estimate is lower than the top interval for Blacks — this is the overlap. This overlap
illustrates that when the proper weighting is applied to generate the appropriate
confidence interval, this analysis of the CES data for a single election in 2020 does not
demonstrate a statistically significant difference between Black and White voter turnout

for that election. We cannot be certain that the turnout rates among these two groups is

different.
Ill. BISG Turnout Analysis

In this section of his report, Prof. Orey used a voter file from Mississippi
matched with census data to first estimate probabilities of race/ethnicity for

individuals, and second check to see whether those people voted or not. He directly

DX-002-005
Case 3:22-cv-00734-DPJ-HSO-LHS Document 298-2 Filed 07/08/25 Page 7 of8

estimates turnout for Whites and Blacks, but, like in the CES analysis, there are no

standard errors, so we cannot be confident the differences are statistically significant.

The Mississippi Secretary of State reports in the amended official results that
1,313,759 ballots were cast in the 2020 presidential election.! There are 930,641
observations (registrants) in Prof. Orey’s BISG data file that was provided by counsel.
Of those 930,641 records, there are only 599,881 observations in which the person voted
in the 2020 election. Subtracting 599,811 from 1,313,759 we get 713,878 missing voters
for the 2020 election. There are also missing non-voters from the dataset, though we
cannot tell how many. Prof. Orey is missing records for over half the voters in the 2020
election (713,878/1,313,759 = 54.34 percent are missing). It is not clear from Prof.
Orey’s report why there are so many missing records, though one problem is that the
voter file that Prof. Orey used was from June 2022 (page 24 of the Orey report). This is
nearly two years after the election — there are new registrants in the state, and other
people who voted in 2020 and who have since died or moved out of state. Relatedly, if a
voter lived in one part of Mississippi and voted in 2020, then moved shortly thereafter
to a different part of the state, this would affect the probability estimate of their
race/ethnicity since that process uses demographic information of the resident’s census
block in the estimation process. Drawing conclusions based on partial and dated data

for a single election renders Prof. Orey's conclusions unreliable.

1 htps://www.sos.ms.gov/elections-voting /election-results/2020-election-results/2020-general-election.

Accessed on October 10, 2023.

DX-002-006
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Case 3:22-cv-00734-DPJ-HSO-LHS Document 298-2 Filed 07/08/25 Page 8of8

IV. Conclusion

Prof. Orey’s analysis of turnout differentials based on race has some serious

” problems. First, he only relies on a single election for his analysis — the 2020 election.

Turnout varies over time due to time and election specific factors, and there are also
long-term trends. These factors cannot be captured with a single data point in time.
Second, his CES analysis does not use appropriate survey weights and does not produce
confidence intervals. When appropriate survey weights are used and confidence
intervals are considered, there is no statistically significant difference in turnout rates
between Whites and Blacks in Mississippi. Third, his BISG analysis uses a dataset that
is missing data for about half the registrants/voters in the state. All of these

deficiencies undermine the reliability of Prof. Orey’s conclusions.

I declare under the penalty of perjury that the foregoing is true and correct to
the best of my knowledge. I reserve the right to amend or supplement my report if

additional facts, testimony, or materials come to light.

Ver BA) am
|r October 23, 202

Thomas L. Brunell

DX-002-007

